
239 Md. 701 (1965)
211 A.2d 758
BURKE
v.
WARDEN OF MARYLAND PENITENTIARY
[App. No. 142, September Term, 1964.]
Court of Appeals of Maryland.
Decided July 2, 1965.
Before the entire Court.
PER CURIAM:
Leroy S. Burke, in seeking leave to appeal from the order denying him post conviction relief from his imprisonment for armed robberies and an assault with intent to murder, presents three questions. The first contention that his confession was coerced and therefore involuntary is hereby denied for the reasons stated in the opinion filed by Judge Cullen in the lower court. The second contention that he was induced to make the confession by an exhortation to tell the truth was apparently not raised below and is therefore not before us. In any case, a mere exhortation to tell the truth would not necessarily render the confession inadmissible. Ralph v. State, 226 Md. 480. The third contention that he was not advised of his right to remain silent is hereby denied on the basis of Cowans v. State, 238 Md. 433.
Application denied.
